                    Case 3:10-cr-00089-RCJ-CLB            Document 138      Filed 10/31/11      Page 1 of 7
                           Ne
    AO 2458 (Rev.09/08)JudgmentinaCriminalCase
     '            Sheel1                                                                                  .

                                             UNITED STATES DISTRICT COURT
                                                  D ISTR ICT OF N EV A D A

    UNITED STATES OF AM ERICA                    JIJD G M ENT IN A C RIM IN AL CA SE
                    VS.                                                                         .
    LUIS EDUA RDO                                CA SE N UM BER:     3:I0-CR-00089-RCJ-V PC-2
    GONZALEZ-LUPERCIO                            USM N UM BER:       44481-048

                                                 ChervlA .Field-Lanz.CJA
    TH'E DEFENDANT:                              DEFENDANT'SAW ORNEY

    (T)       pled guiltyto Count2 oftheSecondSuoersedinzIndictmentfiled 1/26/11
    ()        pled nolocgntenderetocountts)                                whichwasaccepted bythecourt.
    ()        wasfoundguilty on countts)                                   afterapleaofnotguilty.
    Thedefendantisadjudicated'guiltyoftheseofrensets):
                                                                                   Date
    Title & Section                   Nature ofO ffense                            O ffenseEnded              Count

    2lU.S.C.841(a)(1)                 DistributionofaControlledSubstance'          07/09/10                   2
    & (b)(1)(A)(viii)                                         '


              Tbedefendantissentencedasprovidedinpages2through 7 ofthisjudgment.Thesentenceisimposedpursuant
    to the Sentencing Reform Actof 1984.                                                            .

    ()        Thedefendanthasbeen foundnotguilty on countts)
    (W)       Counts1.3.4ofSecond Suoersedint IndictmentaredismissedonthemotionoftheUnitedStates.
           IT IS ORDERED thatthe defendantm ustnotify the United StatesAttorney forthisdistrictwithin 30 daysofany
    change ofnam e,residence,ormailing address untilallfines,restitution,costs,and specialassessm ents imposed by this
    judgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotih,thecourtandUnited Statesattorneyof
    materialchanges in econom ic circum stances.

                                                                     OCTOBER 24.20l1
                                                                     Date of osition ofJudgment

                                  RECEIW D
              FIkED
         - -- -              --- 'SERvEï)cN
         -----ENTERED couNsElFiiiisOFREcoqn                         '

                           OC1 3 1 2Cl1                              ROBERTc J .
                                                                               .       s
                                                                     CHIEF U.S.D ISTRICT JUD GE
                      CLERKusDISTRIN COURT                           Nam eand Title ofJudge
                         DlsTRICT0FNF ADX
.          BN:                               j
                                             spuw                    Date
                                                                           joys/,j/
           Case 3:10-cr-00089-RCJ-CLB           Document 138        Filed 10/31/11      Page 2 of 7
AO2458 (Rev.09/08)JudgmentinaCriminalCaqe
         Sheel2-Imprisonmcnt
DEFENDANT:               LUIS ED UARDO GONZALEZ-LUPERCIO                                      Judgment-Page 2
CA SE N UM BER:          3:10-CR-00089-RCJ-VPC-2

            r                                  IM PRISONM ENT
       Thedefendantishereby com mitted to the custody oftheUnited StatesBureau ofPrisonsto be im prisoned fora total
term of: FIFTY-TW O (52) M ONTH S.                                                           '




(X ) ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
        The Courtrecom mendsthata facility nearto Reno,Nevada be designated.


(X ) Thedefendantisremandedtothecustody oftheUnitedStatesM arshal.
()      ThedefendantshallsurrendertotheUnited StatesM arshalforthisdistrict:
        ( ) at                  a.m./p.m.on
        ( ) asnotifiedbytheUnited StatesM arshal.
()      The defendantshallsurrenderforservice of sentence atthe institution designated by theBureau ofPrisons:
        ( ) before2 p.m.on
        ( ) asnotifiedbytheUnited StatesM arshal.
        ( ) msnotifiedbytheProbationofPretrialServicesOffice.

                                                    R ETUR N

Ihaveexecutedthisjudgmentasfollows:



Defendantdelivered on                                to
at                                                                        ,withacertifiedcopyofthisjudgment.

                                                             IJNITED STATES M A RSHAL

                                                             BY:
                                                                    Deputy United StatesM arshal
                Case 3:10-cr-00089-RCJ-CLB                    Document 138          Filed 10/31/11        Page 3 of 7
    AO 1458 (Rm'09/08)Judgmenti
                              naCriminalCase
             Sheet3 -SupervisedRele%e
    D EFENDANT'.              LUIS EDUA RDO GON ZALEZ-LUPERCIO                                                  Judgm ent-Page 3
    CASE N UM BER:            3:10-CR-00089-RCJ-VPC-2


                                                       SUPERV ISE D R ELEA SE

.           Upon release from imprisonment,thedefendantshallbe on supervised release fora ten'
                                                                                             n ofFIVE (5)YEARS.

            Thedefendantm ustreportto the probation ofrice in thedistrictto which thedefendantisreleased within 72 hours
    ofrelease from thecustody ofthe Bureau ofPrisons.                                                  '

    Thedefendantshallnotcom mitanotherfederal,state,orlocalcrim e.

    Thedefendantshallnotunlawfully possessacontrolled substance.The defendantshallrefrain from any unlawfuluse ofa
    controlled substance. The defendantshallsubmitto one drug testwithin l5 daysofreleasefrom im prisonm entandatIeast
    two periodic drug teststhereafter,notto exceed 104 drug testsannually. Revocation ism andatory forrefusalto com ply.

    ()      Theabovedrugtestingconditionissuspended,basedonthecourt'sdetenninationthatthedefendantposesa Iow risk
            offuturesubstanceabuse.(Check,ifapplicable.)
    (X)     Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
            ifapplicable.)
    (X)     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
    ()      ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42U.S.C.
            j 16901,etseq.)Asdirected bytheprobationoffice,theBureauofPrisons,oranystatesexoffenderregistration
            agency in which he orshe resides.,works,is a student,orwas convicted ofa qualifying ofrense. (Check,if
            applicable.)
    ()      Thedefendantshallparticipate in anapproved program fordomesticviolence.(Check,ifapplicable.)
           Ifthisjudgmentimposesa Gneora restitution,itisa condition ofsupervised releasethatthedefendantpay in
    accordancewiththe ScheduleofPaymentssheetofthisjudgment.       .
            The defendantmustcomply with the standard conditionstbathave been adopted by thiscourtaswellas with any
    additionalconditionson the attached page.

                                           STAN DARD CO ND ITION S O F SUPER W SION

    I)      thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationomce;
    2)      thedefendantshallreporttotheprobationofficeandshallsubmitatruthfulandcompletewrittenreportwithinthefirsttivedaysofeachmonth;         .
    3)      thedefendantshallanswertruthfull
                                           yal1inquiriesb)'theprobationomceandfollow theinstructionsoftheprobationomce;
    4)      thedel-
                  endantshallsupporthisorherdependantsandmcetotherfamilyresponsibilities;
    5)      thedefendantskallworkregularlyataIawrfuloccupationunlessexcusedbytheprobationofficeforschooling,traininp orotheracceptable
            re% ons;
    6)      thedefendlmtshallnotifytheprobationofficeatIeasttendayspriortoanychangeinresidcnceoremployment;
    7)      thedefcndantshallret
                               h infrom exccssiveuseofalcoholandshallnotpurchMe possessuse dinributeoradministeranycontrolledsubnance
           oranyparaphernalia related to anycontrolled substances exceptasprescribed by aphysician'
    8)     thedefendantshallnotfrcquentplaceswherecontrolledsubstancesareillegallysold used distributed oradministered;
    9)     thedefendantshallnotMsociatewithanypersonsengagedincriminalactivity andshallnotmssociatewithanypersonconvictedofafelony,
            unlcssgranted permissionto do so by theprobation oflice;
    10)    thedefcndantshallpermitaprobationoft
                                              icetovisithim orheratanytimeathomeorelsewhereandshallpermitconfiscationofanycontraband
           observed in plain view ofthe probation office;
    Il)    thedcfendantshallnotifytheprobationoflicewithinseventptwohoursofbeingarrestedorquestionedbyalaw enforccmentofrice;
    l2)    thedefendantshallnotenterintoanyagreementtoactasaninfonneroraspecialagentot-alaw enforcementagencywithoutthepcrmission
           ofthecourt;and
    I3)    asdirectedbytheprobationoflice,thedefendantshallnotifythirdpartiesofrisksthatmaybeoccasionedbythedefendant'scriminalrecord        .
           orpersonalhistoryorcharacteristics andshallpermittheprobationom cetomakesuchnotificationsandto confirm thedefendant'scompliance
           with such notification requirtmcnt.
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AO 2458 (Rm'.09/08)Jud!menlinaCriminalCase
         Shect3-Supew lsedRelease
DEFEND ANT:               LUIS EDUARDO GONZALEZ-LUPERCIO                                       Judgm ent-Page 4
CA SE NUM BER:            3:l0-CR-00089-RCJ-VPC-2



                                      SPECIAL CONDITIO NS OF SIJPERVISION


1.      Possession ofW eanons-The defendantshallnotpossess,have underhis control,orhàve accessto any firearm',.
        explosivedevice,orotherdangerous weapons,asdefined by federal state orIocalIaw .

2.      W arrantless Search - The defendant shallsubm itto the search ofhis person,and any property,residence,or
        automobile underhis controlby the probation office,orany other authorized person under the im mediate and
        personalsupervision ofthe probation office withouta search warrantto ensure com pliance w ith aIlconditions of
        relemse.

3.      Reportto Probation Office AfterRelease from Custodv -Ifnotdeportedadefendantshallreporq in personsto the
        probation office in the D istrictto which he isreleased within 72 hoursofdischarge from custody.

4.      Im mir ationComoliance-Ifdefendantisdeported,he shallnotreentertheUnited Stateswithoutlegalauthorization.

5.      TrueName -Defendantshallusehistruename atal1timesandw illbeprohibited from the use ofany aliases,false
        datesofbirth,socialsecurity num bers,placesofbirth,and any otherpertinentdemographic inform ation.

6.      DenialofFederalBenefitsforDrueTraflickers-2lU.S.C.862(a). ThedefendantshallbeineligibleforalIfederal
        benefitsforaperiodof FIVE (5)YEARS.
            Case 3:10-cr-00089-RCJ-CLB               Document 138          Filed 10/31/11     Page 5 of 7
AO 2453 (Rt:vX /08)JudgmentinaCrimi
                                  nalCl
                                      lse
         Sheet5-Cri
                  m inalMonelarvPenalties
DEFEN DANT:               LUIS EDUARDO GON ZALEZ-LUPERCIO                                         Judgment-Page 5
CA SE     ER:             3:10-CR-00089-RCJ-VPC-2

                                        C R IM IN AL M O NE TAR Y PEN ALTIES                                            '

        The defendantm ustpay the totalcrim inalm onetary penaltiesunderthe schedule ofpayments.on Sheet6.

                                   Assessnïent                      Fine                  .     Restitution

        Totals:                    $l00.00      .                   $-0-                        N/A
                                   D ue and payable imm ediately.                                                  .

()      On motionbytheGovernment,IT IS ORDERED thatthespecialmssessmentimposed bytheCourtisremitted.
()      Thedeterminationofrestitution isdeferreduntil                          .AnAmended JudgmentinaCriminalCase
        (AO 245C)willbeentered'aftersuchdetermination.
()      Thedefendantshallmakerestitution(inciudingcommunityrestitution)tothefollowingpayeesintheamountIisted
        below .

        Ifthedefendantmakesa partialpayment eachpayee shallreceive an approximately proportioned paym ent,unless
        specified othem iseinthe riority orderorpercentagepaymentcolumnbelow.Howeverzpursuantto l8 U.S.C.9
        3664(1),allnonfederalvictlmsmustbepaidbeforetheUnited Statesispaid.
Nam eofPavee                                TotalLoss               Restitution Ordered         Prioritv ofPercentaee

Clerk,U.S.DistrictCourt
Attn:FinancialOflice
Case No.3:10-cr-00089-RCJ-VPC-2
333 LasVegasBoulevard,South
LmsVegas,NV 89101

TOTALS                             :        $                       $


Restitution amountordered pursuantto plea agreement: $

The defendantmustpay intereston restitution and a Gne ofm ore than $2,500,unlessthe restitution orfine ispaid in full
beforethefifteenthdayaherthedateofjudgment,pursuantto 18U.S.C.j36l2(9.AlIofthepaymentoptionsonSheet6
may besubjecttopenaltiesfordelinquency and default,pursuantto 18 U.S.C.j36I2(g).
Thecourtdeterm ined thatthedefendantdoesnothavethe ability to pay interestand itisordered that:

        theinterestrequirementiswaivedforthe: ( )fine ( )restitution.
        theinterestrequirementforthe: ( )tine ( )restitutionismodifiedasfollows:                                    .




*Findings forthe totalamountof lossesare required underChapters l09A,110,I10A,and 113A ofTitle 18 foroffenses
comm itted on orafterSeptember13,l994 butbefore April23z!996.
             Case 3:10-cr-00089-RCJ-CLB            Document 138       Filed 10/31/11      Page 6 of 7
AO 2458 (Rev09/08)JudgmenlinaCriminalCase
          Shtct6 -ScheduleorPavmenls
DEFENDANT:                 LUIS EDUARDO GONZALEZ-LUPERCIO                                      Judgment-Page 6
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                                            SC IIE D UL E O F PA      N TS                                               '

Having assessed the defendant'sability to pay,paymentofthe totalcrim inalmonetary penaltiesaredue asfollows:    .




A        (x) Lump sum paymentof$ 100.00soecialassessment                        dueimmediately,balancedue .
         '
             ( ) notIaterthan                    'or
             ( ) inaccordancewith( )C,( )Dsor( )E below;or
B        ()      Paymenttobegin immediately (may becombined with( )C,( )D,or( )E below;or
C        ()      Paymentin                                  (e.g.,weekly,monthly,quarterly)installmentsof$
                        overaperiod of                 (e.g.monthsoryears),to                   (e.g.,30or60days)
                 afterthedateofthisjudgment;or                                                                 .
D        ()      Paymentin
                    '
                                    (e.g.,weekly,monthly,quarterly)installmentsof$        overaperiodof .
                      (e.g.,monthsoryears),to          (e.g.,30or60days)afterreleasefrom imprisonmenttoatenn
                 issupervision;or

E        Payrmentduringtheterm ofsupervisedreleasewillcommencewithin                 (e.g.,30or60days)afterrelease
         from imprisonment.Thecourtwillsetthepaymentplan based on an assessmentofthedefendant'sability to pay at
         thattime'
                 ,or

F        ()      Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:

Unlessthe courthasexpresslyordered othenvise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetary                 '
penalties is due during im prisonm ent. A lIcrim inalmonetary penalties,exceptthose paym ents made through the Federal
Bureau ofPrisons'lnmateFinancialResponsibility Program ,arem ade to the clerk ofthe court.

Thedefendantwillreceive creditforallpaym ents previously made toward any crim inalmonetary penalties imposed.


()       Jointand Several
         Defendantand Co-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,Jointand
         SeveralAm ount,and corresponding payee,ifappropriate.


()       Thedefendantshallpaythecostofprosecution.
()       Thedefendantshallpaythefollowingcourtcostts):
()       Thedefendantshallforfeitthedefendanf'sinterestinthefollowingproperty totheUnited States:

Paymentsshallbeapplied inthefollowingorder:(l)assessment,(2)restitutionprincipal,(3)restitution interest,(4)fine
principal,(5)fine interest,(6)community restitution,(7)penalties,and(8)costs,including costofprosecution and court
costs.
               Case 3:10-cr-00089-RCJ-CLB               Document 138    Filed 10/31/11     Page 7 of 7



            AO 2458 (Rev09/08)-JudgmentinaCri
                                            minalCasc
                     Sheet7-œ nialofFederalBenefiB                                             .              .
            DEFEN DANT:LUIS EDUARDO GONZALEZ-LUPERCIO                                     Judgment-Page 7         '
            CASE NO.:3:l0-CR-00089-RCJ-VPC-2

                                             DE NIAL O F FED ERA L BEN EFITS
                                 (ForOffensesCornmittedOnorAfterNovember18,1988)
            FOR DRUG TRAFFICKER PURSUANT TO 21U.S.C.j862(a)(1)
                    IT IS O RD ERED thatthe defendantshallbe:                                      '

            (Vj ineligibleforallfederalbenefitsforaperiodof FIVE (5)YEARS
            ( ) ineligibleforthefollowingfederalbenefitsforaperiodof
                (specify benefittsl)

                                                            OR
            ()      Havingdetermined thatthisisthedefendant'sthirdorsubsequentconvictionfordistributionof
                    controlled substances,IT IS ORDERED thatthedefendantshallbe perm anently ineligible foraII
                    federalbenefits.

            FOR DRUG POSSESSORS PIJRSUANT TO 21U.S.C.j862(b)
                    IT IS O RD ERED thatthe defendantshall:

            ()      beineligibleforaI1federalbenefitsforaperiod of
        '
            ()      beineligibleforthefollowing federalbenefitsforaperiod of
                    (specifybenefittsl)      .
            ()     successfully completeadrugtesting andtreatmentprogram.
            ()     perform community service,asspecified intlleprobation andsupervised relemseportionoftbis
                   judgment.
                    IS FURTHER ORD ERED thatthedefendantshallcomplete any drug treatmentprogram and
            communityservicespecifiedinthisjudgmentasarequirementforthereinstatementofeligibilityfor
    .       federalbenefits.

                   Pursuantto21U.S.C.j862(d),thisdenialoffederalbenefitsdoesnotincludeany
            retirem ent,w elfare,SocialSecurity,health,disability,veteransbenelit,public housing.orother
            sim ilar benefit,orany other benefitfor wbich paym ents orservicesare required foreligibility.
'
            Theclerk isresponsibleforsendingacopyofthispageand thefirstpageofthisjudgmentto:
                   U.S.D epartm entofJustice,O ffice ofJustice Program s,W ashington,D C 20531.
